         Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 1 of 36




                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NGRTHERI\ DISi RICT OF GEORGIA                       %vi1,
                                                   FILED ffa ~;.E' : ? : ~.;^~~y~
                         ATLANTA DIVISION
                                                                                           n d"
CAROL FausExT,                           )                                JUL '? ~ ?rr, .f v

      Plaintiff,                                               8Y:
                                                  CIVIL ACTION FILE                          rk
                     v.
                                                  NO. 1 0 3 C V _2 16 4
ATLANTA FALCONS
FOOTBALL CLUB, LLC ;
AMB GROUP, LLC; and
ARTHUR M. BLANK,

      Defendants.


                                     COMPLAINT

      Comes now the Plaintiff, CAROL FAUBERT, and submits her Complaint

against the above-named Defendants and shows as follows:

                               (Preliminary Statement)

                                             1.

      Plaintiff Carol Faubert worked for the Defendants as a Vice President for

Human Resources. Plaintiff spoke out against the Defendants' sexual harassment and

objectification of females . Based on Plaintiff s speaking out, Plaintiff was retaliated

against and terminated. Further, Defendant Blank stated that he instead preferred a

"guy" in Plaintiff's role so that he would be comfortable discussing "football stuff"
                                                                              Rr,itc: p~
                                                                             COP :,~~fivEF
with him. Defendant Blank terminated Plaintiff for no legitimate reasq~; :_ ;' ~~ ! :s
         Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 2 of 36




                             k.iu-risdiction & Venue)

                                         2.

      Jurisdiction and venue are appropriate in the Northern District of Georgia as

to all Defendants .

                                         3.

      Defendant AMB GROUP, LLC (hereinafter "AMB Group"), is a company with

a principal place of business located at The Forum, 3290 Northside Parkway, N.W.,

Suite 600, Atlanta, Georgia 30327 . Said Defendant may be served by serving its

Registered Agent, David E . Homrich, at the aforesaid address. Jurisdiction and

venue are proper as to this Defendant.

                                         4.

      Defendant ATLANTA FALCONS FOOTBALL CLUB, LLC (hereinafter

"Atlanta Falcons"), is a company with a principal place of business located at 4400

Falcon Parkway, Flowery Branch, Georgia 30542 . Said Defendant may be served by

serving its Registered Agent, C.T . Corporation System, 1201 Peachtree Street, N.E.,

Atlanta, Georgia 30361 . Jurisdiction and venue are proper as to this Defendant.

                                         5.

      Defendant ARTHUR M . BLANK is the owner and CEO of the respective

corporate Defendants and can be served at The Forum, 3290 Northside Parkway,


                                         2
         Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 3 of 36
                      l


N. W., Suite o00, Atlanta, Georgia 30327 . Jurisdiction and venue are proper as to this

Defendant .

                               (Factual Allegations)

Plaintiff Speaks out Against Discrimination and Harassment

                                          6.

      During the performance ofherjob, Plaintiff noticed that certain individuals and

employees from both AMB Group and the Atlanta Falcons were treating women

inappropriately . In particular, it was widely known and discussed among female

employees of both offices that Defendant Arthur Blank's treatment of women was

generally abusive.

                                          7.

      At various times, Plaintiff observed Ray Anderson, the Executive Vice

President and Chief Administrative Officer of the Atlanta Falcons, instruct female

employees to dress in professionally inappropriate, skimpy attire, to serve lunch to

and act as waitresses for the football players, to dress up in costumes such as geisha

girls and magician's assistants, to wear fishnet stockings, and to allow professional

make-up artists to apply glitter and gawdy lipstick so as to make the female

employees appear sexy and enticing to the football players .




                                          3
         Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 4 of 36




                                          S.

      Forcing the female employees to dress in this inappropriate fashion served no

other purpose than the prurient interests of the Defendants, and their male employees.

                                          9.

      Ray Anderson, Executive Vice President and Chief Administrative Officer of

the Atlanta Falcons, customarily referred to female employees as "baby" and

"sweetheart,"

                                         10 .

      Ray Anderson frequently told stories around the office which were demeaning

to women. One such story about a former client of his who was fired as head coach

of another NFL team because of sexual harassment of the female employees ended

with Ray Anderson stating: "Sexual harassment? Big deal . They should not have

fired him for that reason ."

                                         11 .

      Some of the female employees who were asked to dress and change their

appearance in the manner described in paragraph 7 above found the instructions to

maintain such an appearance to be objectionable and they complained to Plaintiff.

                                         12 .

      Plaintiff, acting upon the requests of several female employees, related their


                                          4
         Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 5 of 36




complaints to Defendant Arthur Blank. Rather than responding to those complaints

or enacting any policies or instructions to halt the sexual harassment off emale

employees, Defendant Blank ignored Plaintiff's complaints, changed the subject and

asked Plaintiff to spy on an acquaintance of his who served with Defendant Blank on

the Board of Directors of a prominent Atlanta corporation .

                                          13 .

      Defendant Blank informed Plaintiff that the Board of Directors to replace said

individual because of his alleged indiscretions with women (he was a married man).

Defendant Blank told Plaintiff that, although he personally had no problems with said

individual or any man having "another woman on the side," he had a fiduciary

responsibility to the Board of Directors of that corporation .

                                          14.

      Defendant Blank became angry when Plaintiff refused to participate in spying

activities on said individual and report back to Defendant Blank.

                                          15 .

      After Plaintiff received no response or remedial action by Defendant Blank

about the sexual harassment and objectification of female employees, Plaintiff

repeated the same complaints to Ray Anderson, to whom she told : "You can't use the

women this way. You are pimping the women."             Ray Anderson responded to


                                           5
          Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 6 of 36




Plaintiff. "Arthur Blank warts this. Drop it."

                                          16.

        On another occasion, Defendant Arthur Blank askew his assistarit, K.^.:

Mauldin, to find the pretty girls at the Falcons front office to escort Board members

from the lobby to the Boardroom. Some of the female employees complained and

asked: "What are we? Door whores?" They were then instructed to do as they were

told.

                                          17.

        Receiving no adequate response to her complaints to Defendant Arthur Blank

or Ray Anderson, Plaintiff complained to Kim Shreckengost that the sexual

harassment and objectification of female employees had to stop . Kim Shreckengost

responded : "You can't tell Arthur . He will get mad at these women for complaining.

I don't know what he will do to them."

                                          18.

        Plaintiff further related to Ms . Shreckengost the complaints of Susan Bass, VP

Community Relations and Communications, of whom Arthur Blank asked : "How

many players have hit on you?" Defendant Blank continued to insist upon an answer,

even though Susan Bass let him know that the question was demeaning . Kim

Shreckengost informed Plaintiff that Arthur Blank did not like Susan Bass and that


                                           6
          Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 7 of 36




rciaiitig the complaint to him would cause aim to dislike ivis . Bass iuriner .

                                          19.

       Despite Plaintiffs complaints to Arthur Blank, Ray Anderson and Kim

Shreckengost, the sexual harassment and objectification of female employees

continued and it became apparent to Plaintiff that she was being retaliated against and

discriminated against because of her complaints .

Defendant Blank Discriminates Against Plaintiff Because of Her Weight

                                          20 .

       After Plaintiff's complaints about sexual harassment and objectification of

female employees produced no improvements in either area, Defendant Arthur Blank

began complaining about the Plaintiff's weight, despite the fact that several male

employees were also overweight and no complaints were made to or about them.

                                          21 .

       On one occasion when Plaintiff asked Arthur Blank about her performance, he

responded that she had done wonderful work the entire time she had been an

employee, but also confirmed that he objected to Plaintiff's weight. Arthur Blank

complained to Kim Shreckengost that Plaintiffs weight was "inconsistent with an

athletic facility ."

                                          22 .


                                           7
            Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 8 of 36




      Upon information and belies, Defendant Arthur Blank's personal problem with

Plaintiff's weight was not applied to similarly situated men and was a pretext for

illegal retaliation against the Plaintiff for speaking out against discrimination.




                                          23 .

      On a further occasion when Plaintiff complained to Arthur Blank about Ray

Anderson's inappropriate touching of female employees and also about Ray Anderson

calling the female employees "baby," "sweetie" and "sugar," Arthur Blank responded:

"What's wrong with that? I touch and kiss the women all the time myself"

Defendant Blank Refuses to Hire Female Employees with Young Children

                                          24 .

      Upon information and belief, Defendant Arthur Blank purposely goes out of

his way to discover the parental status of his female employees prior to hiring.

                                          25 .

      For example, Defendant Blank instructed his subordinates to screen potential

female applicants as to how many children they had and what were the ages of the

children.




                                          26 .


                                           8
         Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 9 of 36




      Women who had such young children were routinely prevented from

employment with the Defendants .

                                          27 .

      On another occasion, Plaintiff spoke out in favor of two potential female vice-

presidents for the Defendants . Arthur Blank and Ira Jackson were discussing whether

or not two female employees of the Defendants should become vice-presidents.

Plaintiff said affirmatively that they were doing all of the work of a vice-president

and should be given the title of vice-president .

                                          28 .

      Arthur Blank stated in response that, "I cannot have officers of mine running

home to stay with little Max ." This was in reference to a potential female Vice-

President's child by the name of Max .

                                          29 .

      Plaintiff responded, "Arthur, with all due respect, this is a family foundation .

The efforts you have supported have been on behalf of children. How can you now

say that a part-time mom cannot be a vice-president?" Arthur Blank became red-

faced and angry and said that he didn't care. Defendant Blank said, "I hope you're

not thinking of proposing top pro rata pay for a part-time effort ."

                                          30 .

                                           9
          Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 10 of 36




         Arthur flank rhea next said, "We are not covered by any of those laws . We

don't have enough employees."

                                          ^I 7
                                          Jl,



         On or about January 24, 2003, Kim Shreckengost met with Plaintiffand stated :

"Arthur called me from San Diego where he will be attending the Super Bowl . He

told me to fire you. When Ms . Shreckengost hesitated, Defendant Blank screamed

`fuck you, Kim,' and/or `fuck' ten or more times, because I would not fire you since

we had no grounds."

                                          32 .

         Defendant Blank also complained that he was overpaying Kim Shreckengost,

even though she was the lowest paid Executive Vice President and was the only

female Executive Vice President. Acting upon the orders of Arthur Blank, Kim

Shreckengost fired Plaintiff, whose official termination date was to be February 4,

2003 .

Plaintiff Speaks Out Against Defendants' Violation of Federal Law

                                          33 .

         Plaintiff specifically opposed the unequal pay for women who worked for the

Defendants.

                                          34.


                                           10
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           Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 11 of 36



      Plaintiff nppnsefi the Defendants failure to pay overtime for certain of the

Defendants' employees .

                                        ».

      Plaintiff wrote and collected job descriptions from employees at AMB and the

Falcons for two reasons; namely 1) to determine whether the position qualifies for

exempt status or if the position should be made hourly and 2) to properly evaluate

their salary level at review time.

                                        36 .

      Plaintiff was not allowed to change any AMB staff who clearly should have

been changed to hourly . Plaintiff changed over 10 staff positions at the Falcons to

exempt .

                                        37 .

      Defendant Blank was particularly incensed that he would have to pay overtime

and became angry with the Plaintiff.

                                        38 .

      Upon information and belief, Defendant Arthur Blank's housekeepers for his

mansions in both Atlanta and Hilton Head, SC are listed as exempt and receive no

overtime according to Federal wage and hour laws . Defendant Arthur Blank and his

Wife, Stephanie Blank, became angrier yet when Plaintiff proposed changing his


                                         11
         Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 12 of 36




housekeeping   staff to   hourly .


                                        39.

       Defendant Arthur Blank was very upset that Plaintiff included ADA language

and questions in the job descriptions . Defendant Blank said, "[y]ou can't ask people

how often they stand, reach, lift . You'll make me the laughing stock of the NFL. I

don't care if it's the law."




Plaintiff's Exemplary Work History

                                        40.

       From April 2002 until February 2003, Plaintiff worked for AMB Group as the

Vice President for Human Resources. Plaintiff also worked for the Atlanta Falcons

as a Vice President for Human Resources.

                                        41 .

       During Plaintiff's employment, she received only one performance review in

which her immediate supervisor, Kim Shreckengost, Executive Vice President of

Operations of the AMB Group, told Plaintiff that her performance was "awesome ."

                                        42 .

       Plaintiff has over 25 years of substantive Human Resources experience.

                                        43 .


                                         12
        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 13 of 36




      Plaintiff successful!; implemented an INS policy for Defendant AMB Group

that required all new employees, and current employees, to produce proof that they

could legally work in the united States . Prior to riaiuiiii
                                                           I's luvolvernent,   De fendant


AMB were not in compliance with INS rules and regulations.

                                          44.

      Plaintiff initiated a complete benefits review of Long Term Disability, Short

Term Disability, Life Insurance, Dental Insurance and Health insurance for the

Defendants . The result of Plaintiff's effort was that it greatly enhanced benefits and

generated a monetary savings currently projected to be over $300,000 .00 per year.

                                          45 .

      Plaintiff implemented an Employee Assistance Program to assist all personnel

with personal problems and issues . This resulted in overwhelming positive feedback

from all personnel from the Defendants.

                                          46.

       Plaintiff developed and implemented a comprehensive full day orientation

program for new employees working for the Defendants. No orientation program was

in place prior to Plaintiff's involvement.

                                          47.

       Plaintiff wrote the intern Policy that presents a structured program with


                                             13
         Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 14 of 36




appropriate guidelines including approval process for hiring college interns and the

process for evaluating them so that their experience is meaningful.

                                          48.

        Plaintiff wrote and implemented new and more comprehensive non-

discrimination and anti-harassment policies which clearly state the Defendants'

positions in these areas.

                                          49.

        Plaintiff envisioned and initiated Falcons University for the football players

and worked with Billy "Whiteshoes" Johnson and Lean Anding to develop the classes

and select the speakers .

                                           50.

        Recently, the NFL gave the Falcons the award for Best Player Programs in the

NFC .

                                           51 .

        Plaintiff created and established a progressive discipline practice that ensured

that employees were not blind sided in a termination .

                                           52 .

        Plaintiff created and implemented the Separation Agreement process which

defined the severance terms of terminated employees.


                                           14
         Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 15 of 36
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                                         53 .

       Plaintiff developed formal personnel files for each of the Defendants'

employees .     Prior to Plaintiff's involvement, no formal personnel files were

established .

                                         54.

       Plaintiff developed a Salary administration process and initiated salary bench

marking so that employees would be given salary increases based not only on their

performance, but on the market value of each position.

                                         55 .

       Plaintiff developed review forms and a review process to ensure that all

personnel benefit from comprehensive and inclusive reviews. Employees had the

opportunity to discuss with their supervisors programs or classes to assist them in

developing and growing in their positions and for advancement. No formal process

was in place prior to Plaintiff's involvement.

                                         56.

       Plaintiff met with Arthur Blank's Executive VPs at the Falcons to establish

metrics by which Arthur Blank could evaluate their performance and determine their

bonuses .

                                         57 .


                                          15
         Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 16 of 36




      Plaintiff created formal employment application forms for the Defendants to

be completed by applicants for vacant positions.

                                          58 .

      Plaintiff developed and implemented all internal HR processes which were

non-existent, such as Request for Leave, and New Hire Notification to those who

need to know in order to have everything ready for the new arrival . Plaintiff also

developed forms and processes for Change of Status (name change, position change,

location change), Exit checklist to return keys, laptop, credit card etc., Exit Interview

process and designed and implemented the 90-day probationary review form and

system for all new hires .

                                          59.

      Plaintiff implemented comprehensive new payroll and human resources

software and data bases at the Falcons that was also implemented at AMB.

                                          60.

      Plaintiff wrote and implemented a Family and Medical Leave policy that is

required by law . Prior to Plaintiff's hire, no policy for FMLA was in place.

                                          61 .

       Plaintiff wrote for the Defendants' supervisors "Keys to Effective and

Appropriate Interviewing" so that their interviews would be lawful and more probing .


                                           16
                      c
        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 17 of 36




Arthur Blank clearly ignored this and continued to discriminate against women with

small children.

                                          62 .

      Plaintiff wrote and distributed to supervisors the document titled Supervisory

Guidelines and Self-Evaluation Checklist to assist them with dealing with their direct

reports professionally, directly and compassionately .

                                          63 .

      Plaintiff established proper OSHA procedures at the Falcons. No one had

advised Defendants of the laws prior to Plaintiff's arrival .

                                          64 .

      Plaintiff reviewed three consultants' proposals relating to Long Term Incentive

Plans, summarized them for Defendant Blank, interviewed new consultants and

selected one to design the Plan . Defendant Blank complimented Plaintiff in writing

on Plaintiff's memo concerning Long Term Incentive Plans .

                                          65 .

      Plaintiff created a Service Award Program to recognize seniority

                                          66.

      Plaintiff wrote some Defendant Blank's internal communications and in

particular, Defendant Blank complimented Plaintiff on her outstanding writing that


                                           17
        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 18 of 36



conveyed Arthur Blank's personal thoughts following the 9/11 terrorist attack .

                                       Count I

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                    "CLillItlllGl~l - Defendants
                                               lJ Atlanta Falcons and ~i~iD viJil'



                                         67 .



      Plaintiff respectfully reincorporates the allegations contained in the above

paragraphs.

                                         68.

      At all relevant times, Defendants are and have been engaged in an industry

affecting commerce and have employed 15 or more employees for each working day

in each of 20 or more calendar weeks in the current or preceding calendar year, and

the Defendants are subject to the provisions of Title VII, 42 U.S .C. 2000(e).

                                         69 .

      At all relevant times, Defendants were and are an "employer" as defined in

Section 701(b) of Title VII.

                                         70 .

      At all material times, the individual Defendant and the other individuals named

herein were acting with the scope of their employment and were agents of the

corporate Defendants, authorized and empowered to perform these acts as alleged

herein during the regular course of their employment.


                                          18
        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 19 of 36




                                          71 .

      Plaintiff and other females were discriminated against because of their sex

through inappropriate comments made to them by       their male supci4'iSviS u.i well   as

their objectification as sex objects by male supervisors . Defendants adopted this

misconduct by failing and refusing to correct and prevent similar recurring

misconduct .

                                          72.

      The above-described sexual discrimination and harassment made Plaintiff's job

difficult to perform and placed stress, fear and humiliation on Plaintiff, which was not

endured by her male co-workers

                                          73

      Defendants reacted to Plaintiff's complaints of sexual discrimination and

objectification by scrutinizing her work performance more closely than other

employees, and, when finding nothing lacking in Plaintiff's performance, Defendants

fabricated pretextual reasons for her termination.

                                          74.

      Defendants terminated Plaintiff because they unfairly targeted her alleged

weight problem which amounts to an immutable characteristic of hers and of which

the Defendants failed to similarly so apply to the male employees of the Defendants.


                                           19
            Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 20 of 36




                                               7s .
          Defendants retaliated against the Plaintiff for her speaking out on protected

activity resulting in her termination for pretextual reasons .

                                               76 .

          All jurisdictional prerequisites to the institution of Plaintiff's suit under Section

706 of Title VII have been fulfilled: Plaintiff filed her charges within 180 days of the

discriminatory acts ; Plaintiff was issued a right to sue from the EEOC ; and Plaintiff

now files this Complaint within 90 days of receipt of the right to sue.

                                               77.

          The actions herein above complained of were done because of the Plaintiff's

gender and in retaliation for Plaintiff s opposition to unlawful employment practices.

                                               78 .

          Defendants performed the above discriminatory acts willfully, wantonly,

intentionally, and in reckless and callous disregard of Plaintiff's federally protected

rights.

                                               79 .

          As a direct result of Defendants' misconduct, Plaintiff has suffered

compensatory damages in an amount to be proven at trial .




                                               20
        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 21 of 36




                                      Count II

                          (Equal Pay Act & Retaliation)

                                         80 .

      Plaintiff respectfully reincorporates the allegations contained in the above

paragraphs.

                                         81 .

      Defendants repeatedly and willfully violated, and are willfully violating,

Section 6(d) of the FLSA by discriminating between employees on the basis of sex

by paying wages to the Plaintiff and other female employees at a rate less than the

rate at which they pay wages to male employees in the same establishment for equal

work on jobs the performance of which requires equal skill, effort, and responsibility,

and which are performed under similar working conditions .

                                          82 .

      Upon information and belief, Plaintiff was not paid the same as similarly

situated males and was in fact paid less than comparable males while working for the

Defendants .

                                          83 .

      Prior to Plaintiffs termination, she spoke out on protected activity by

protesting the Defendant's unfair employment practices.


                                          21
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        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 22 of 36




                                          84.

      Some of Plaintiff's protected activities included complaining to Defendant

about unequal pay for women and protesting the status of women doing Vice-

President level work without compensation .

                                          85 .

      Based upon Plaintiff speaking out on protected activity, the Defendant

retaliated against and discharged the Plaintiff.

                                          86.

      The decision to terminate the Plaintiff was out of retaliation for her speaking

out on protected activity .

                                          87.

       Plaintiff is entitled to the difference between her salary and the salary of male

employees for the Defendants.

                                          88 .

       Upon information and belief, Defendants paid Plaintiff substantially less than

her male successor in yearly salary, bonus, pension benefits, fringe benefits and other

types of compensation

                                          89.

      Plaintiff is further entitled to back pay and interest and an equal amount as


                                           22
        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 23 of 36




liquidated damages for the willful violation or the equal pay act .

                                      Count III

                               (FLSA & Retaliation)

                                          90 .

      Plaintiff respectfully reincorporates the allegations contained in the above

paragraphs .

                                          91 .

      Prior to Plaintiff's termination, she spoke out on protected activity protesting

the Defendant's unfair employment practices.

                                          92 .

      Some of Plaintiff's protected activities included complaining to Defendant

about unequal pay for women, protesting the status of women doing Vice-President

level work without compensation, and protesting the fact that certain employees were

non-exempt for purposes of the FLSA, but were not being paid overtime .

                                          93 .

      Based upon Plaintiff speaking out on protected activity, the Defendant

retaliated against and discharged the Plaintiff.

                                          94 .

      The decision to terminate the Plaintiff was out of retaliation for her speaking


                                          23
        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 24 of 36




nut on protected activity .

                                      Count IV

                   (Negligent Supervision, Retention & Hiring)

                                         95 .

       Plaintiff respectfully reincorporates the allegations contained in the above

paragraphs .

                                         96.

      Defendants had the duty to properly supervise, retain and hire their officers and

employees so that the actions of said individuals did not cause harm to the Plaintiff

and other female employees .

                                         97 .

      Defendants breached their duty by failing to properly supervise, retain and hire

their officers, agents and employees.

                                         98 .

      Defendants breach of this duty to properly supervise, retain and hire their

officers, agents and employees is the proximate cause of financial, physical and

emotional injuries suffered by the Plaintiff.

                                         99.

       Because of the actions of Defendants, Plaintiff has been harmed in an amount


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                      t
         Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 25 of 36




to be determined at trial.

                                      Count V

                    (Intentional Infliction of Emotion Distress)

                                         100.

        Plaintiff respectfully reincorporates the allegations contained in the above

paragraphs.

                                         101 .

        As set out above, the conduct of these Defendants was so extreme and

outrageous and so insulting as naturally to cause humiliation, embarrassment, and

fear.

                                         102.

        As a direct and proximate result of these Defendants' actions and omissions,

Plaintiff has been harmed both physically and mentally from the conduct described

above, which has caused damage to the Plaintiff's happiness, well-being, and peace

of mind . The amount of said harm is ascertainable by a jury of the Plaintiff's peers.

                                      Count VI

           (Tortious Interference With An Employment Relationship)

                                         103 .

        Plaintiff respectfully reincorporates the allegations contained in the above


                                          25
        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 26 of 36




paragraphs.

                                        104.

      Plaintiffs employment relationship with Defendants constituted a right of

enjoyment of private property and the Plaintiff's right of continuing employment

under reasonable and appropriate circumstances .

                                        105 .

      Some or all of these Defendants and their above-mentioned acts unlawfully

interfered with Plaintiff's said right of enjoyment of her employment status .

                                         106 .

      Such unlawful interference by these Defendants was the sole and proximate

cause of the harm to the Plaintiff for which she was damaged thereby in an amount

to be determined at trial.

                                     Count VII

                                   (Defamation)

                                         107 .

      Plaintiff respectfully reincorporates the allegations contained in the above

paragraphs.

                                         108.

      Based upon information and belief, Defendants and their agents refer to


                                          26
        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 27 of 36




Plaintiff as an extortionist or as exhibiting extortionist conduct.

                                          109.

      Plaintiff has not engaged in any extortionist conduct towards the Defendants

and any such extortion allegation is false .

                                          110 .

      Defendants have no evidence that Plaintiff is an extortionist or exhibits

extortionist conduct .

                                          111 .

      Defendants and their agents' remarks were directed to defame and impute the

crime of extortion unto the Plaintiff.

                                          112 .

      Defendants and their agents had no privilege or justification to make such

remarks .

                                          113 .

      Defendants and their agents made such remarks out of malice towards the

Plaintiff because she dared oppose their illegal employment practices.

                                          114.

      Defendants and their agents actions amount to both slander and libel, or slander

and libel, per se, in that the defamatory statements were both conveyed in spoken and


                                           27
        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 28 of 36




written form and are of special damage to (lie Plaintiff.




                                     Count VIII

                                (Punitive Damages)

                                         115 .

       Plaintiff respectfully reincorporates the allegations contained in the above

paragraphs .

                                         116 .

       All of Defendants' above-mentioned acts were willful, wanton, intentional,

malicious and oppressive, and punitive damages in an amount to be determined by

the enlightened conscience of a jury should be awarded to the Plaintiff to deter the

Defendants from repeating such conduct.




                                           28
           Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 29 of 36




          WHEREFORE, as to Counts [ through VIII oftne within and foregoing

Complaint, Plaintiff prays, separately with respect to each Count, for the following

relief:

          (a)   actual, consequential and liquidated damages, as may be proved;

          (b)   general damages for pain, suffering and humiliation suffered by

Plaintiff as a result of Defendants' actions ;

          (c)   punitive damages in an amount sufficient to properly penalize the

Defendants for their misconduct and to deter Defendants from such wrongdoing in

the future;

          (d)   equitable relief including but not limited to reinstatement, and an

injunction to prevent any further discrimination by the Defendants;

          (e)   Plaintiff's attorneys' fees and expenses of litigation in reasonable

amounts ; and

          (f)   such further and additional relief as the Court may deem just and

proper .




                                             29
       Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 30 of 36
                   C
          PLAINTIFF HEREBY JE".'iANDS A TRIAL BY JURY .


                                  JONES, JENSEN & HARRIS


                                  By :      ~     Gc~
                                     TAYL       W. J    ES
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Fax: (404) 872-209
                                  MILES, McGOFF & MOORS, L.L.C .




                                     LARRY .PANKEY
                                     Georgia Bar No. 560725

320 Dahlonega Street
Suite 200
Gumming, Georgia 30040
Phone : (770) 781-4100
Fax: (770) 781-9191

                                  Attorneys for Plaintiff




                                    30
                        Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 31 of 36


'a A0 440 (Rev. 10 /93) su mmons in a CivIl Action



                                          UNITED STATEs DISTRICT COURT
                                          NORTHERN           District of        GEORGIA



             CAROLFAUBERT
                                                                              SUMMONS IN A CIVIL CASE
                          V.
              ATLANTA FALCONS FOOTBALL CLUB, LLC,
              AMB GROUP, LLC, and ARTHUR M . BLANK
                                                                  CASE NUMBER :


                                                                                                 if -, 16 4

                        TO : Name and address of Dcfmdant)


                         AMB GROUP, LLC
                         c/o David E. Homrich, Registered Agent
                         3290 Northside Parkway, N .W ., Suite 600
                         Atlanta, Georgia 30327


           YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and addess)

             Taylor W. Jones, Esquire
             JONES, JENSEN & HARRIS
             1900 One Georgia Center
             600 W. Peachtree Street, N .W.
             Atlanta, Georgia 30308




an answer to the complaint which is herewith served upon you, within                     o     days after service of this
summons upon you, exclusive of the day of service . [f you fail to do so, judgment by default will betaken against you for
the relief demanded in the complaint . You must also file your answer with the Clerk of this Court within a reasonable
period of time after service .




       LJTJ"~- : j,                 Act                               .r. :. . . A-3
CLERK                                                             DATE



(By) DEPUTY           ERk
                       Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 32 of 36
                                                                                                 l

'a .40 440 (Rev . 1093) Sunvnons in a Civil Action

                                                                     RETURN OF SERVICE
          Service of the Summons and complaint -as . . . . de b-Y 1-11c- . . .

        OF SERVER (PRINT)                                                                 TRLE




          D Served personally upon the third-party defendant . Place where served :


          O Left copies thereof at the defendant's drrelGng house or usual place of abode with a person of suitable age and
            discretion then residing therein .

              Name of person with whom the summons and complaint were left :

          O Returned unexzcured :




          D Other (specify) :




                                                               STATEMENT OF SERVICE FEES



                                                                  DECLARATION OF SERVER


                    f declare under penalty of perjury, node she laws of she United States of America that the foregoing information
           contained in the Return of Service and Statement of Service Fees is true and correct .


           Executed on
                                          Date                      Signature of Server




                                                                    Address of Server




( I ) As to who may serve a summons sec Rule 4 o(the Federal Rules ofCi vil Proccdurc.
                                                   7 ~k " .   '
                    Case 1:03-cv-02164-RWS: Document 1 Filed 07/28/03 Page 33 of 36


~-AO 440 (Re,. 10193) S.nmons in a Ci it Action



                                       I T NNITED STATES D?STRiCT COT zRT
                                        NORTHERN                  District of         GEORGIA



            CAROL FAUBERT
                                                                                     SUMMONS IN A CIVIL CASE
                          V.
              ATLANTA FALCONS FOOTBALL CLUB, LLC,
              AMB GROUP, LLC, and ARTHUR M . BLANK
                                                                       CASE NUMBER:




                    TO : (Name and address of Dc(mdani)


                      ATLANTA FALCONS FOOTBALL CLUB, LLC
                      c/o C .T. Corporation System, Registered Agent
                      1201 Peachtree Street, N .E.
                      Atlanta, Georgia 30361

          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (nme and address)

            Taylor W. Jones, Esquire
            JONES, JENSEN & HARRIS
            1900 One Georgia Center
            600 W. Peachtree Street, N .W.
            Atlanta, Georgia 30308




an answer to the complaint which is herewith served upon you, within               90        days after service of this
summons upon you, exclusive of the dayof service . If you fail to do so,judgment by default will be taken against you for
the relief demanded in the complaint . You must also file your answer wide the Clerk of this Court within a seasonable
period of time after service .




                                                                                nq

CLERK                                                                  DATE



(Byj DEPUfY    LERK
                      Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 34 of 36


q~hA0440 (Re, . 10/93) Summons inaCivilAction

                                                                 RETURN OF SERVICE
                                                                                        DATE
          Service of the Summons and complaint was made by me"'                       IV

        OF SERVER                                                                       TITLE




         O Served personally upon the third-party defendant . Place where served :



         O Left copies thereof at thede(endant's dwelling house or usual place of abode with a person of suitable age and
           discretion then residing therein .

              Name of person with whom the summons and complaint were left :

         O Returned unezecured :




         0 Other (specify) :




                                                            STATEMENT OF SERVICE FEES
                                                                                                   TOTAL


                                                               DECLARATION OF SERVER

                   1 declare under penalty of perjury undo the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct .


           Executed on
                                        Date                    Signature of Server




                                                                Address of Server




(1) As to who may serve a summons see Rule 4 of the Federal Rules of Civil Procedure.
                     Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 35 of 36


10.A0 440 (Rev . 10/93) Summons in a Civil Action



                                         UNIT. ED ST. AT. ES D:ST. FuCT CnLTRT.
                                         NORTHERN           District of    GEORGIA



            CAROLFAUBERT
                                                                          SUMMONS IN A CIVIL CASE
                         V.
             ATLANTA FALCONS FOOTBALL CLUB, LLC,
             AMB GROUP, LLC, and ARTHUR M . BLANK


                                                                                                ' V _~ 16 4'~Ff~~
                                                                 CASE NUMBER : _     O
                                                                               J.        3     C




                    TO :    Name md address of Defendant)


                      ARTHUR M . BLANK
                      The Forum
                      3290 Northside Parkway, N.W., Suite 600
                      Atlanta, Georgia 30327


          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY (name and address)

            Taylor W. Jones, Esquire
            JONES, JENSEN & HARRIS
            1900 One Georgia Center
            600 W. Peachtree Street, N .W.
            Atlanta, Georgia 30308




an answer to the complaint which is herewith served upon you, within                 a1 0     days after service of this
summons upon you, exclusive of the dayof service . [f you fail in do so, judgment by default will be taken against you for
the relief demanded in the complaint . You must also file your answer with the Clerk of this Court within a reasonable
period of time after service .




CLERK            ~                                               DATE
                      Case 1:03-cv-02164-RWS Document 1 Filed 07/28/03 Page 36 of 36
 -         -

qt,A0440 (Rev . 10/97) Summons in a Civil Action

                                                        RETURN OF SERVICE
                                                                  DATE
         Service of th e Summons and complaint was made by me'"

       OF SERVER (PRINT)


           o   o eox naio     o i~a~~          . . . . .. .. .       of   ..


         O Served personally upon the third-party defendant . Place where served :



         D Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age and
           discretion then residing therein .

               Name of person with whom the summons and complaint were left :

         O Returned unexecuted :




         D Other (specify) :




                                                             STATEMENT OF SERVICE FEES



                                                                 DECLARATION OF SERVER


                   I declare under penalty of perjury under the laws of the United States of America that the foregoing information
          contained in the Return of Service and Statement of Service Fees is true and correct .


          Executed on
                                        Date                     Signartare of Server




                                                                 Address of Serva




(1) As to who may serve a summons see Rule 4 oft he Fed" Rules of Ci mil Procedure .
